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10                        UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12
13
        INTERNATIONAL                            Case No.: 2:18-cv-03681-KS
14
        BROTHERHOOD OF
15      TEAMSTERS, LOCAL 396,
16                                               INTERNATIONAL
                         Plaintiff,              BROTHERHOOD OF
17
                   vs.                           TEAMSTERS, LOCAL 396’s
18                                               BRIEF IN SUPPORT OF
19      NASA SERVICES, INC.; and DOES            MOTION TO COMPEL
        I through X,                             ARBITRATION
20
21                       Respondents.            Date: August 20, 2018, 1:30 p.m.
22                                               Judge: Hon. Stephen Wilson
23                                               Location: Courtroom 10A
24
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27
28


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 1                                  INTRODUCTION
 2          Teamsters Local 396 (the “Union”) and NASA Services, Inc. (“NASA”)
 3    executed a “Labor Peace Agreement” (the “LPA”) in late 2014. Being party
 4    to such an agreement was a condition of NASA obtaining a lucrative waste-
 5    hauling franchise with the City of Los Angeles. The LPA contains a broad
 6    arbitration clause, under which “any dispute over the interpretation or
 7    application” of the agreement is subject to arbitration. The LPA also
 8    includes several conditions, which relate to NASA obtaining a city
 9    franchise. The parties have a dispute over the meaning and application of
10    one such condition: whether the City “entered into an exclusive franchise
11    agreement” with NASA prior to January 1, 2017. The Union maintains
12    that the City did, because all of the discretionary, legislative requirements
13    for entering the franchise agreement were met before that date and the
14    final step of signing the contract was ministerial and mandatory. NASA
15    seeks to avoid its obligations under the LPA—despite having relied on the
16    validity of the LPA to obtain and maintain its exclusive franchise—by
17    arguing that its franchise agreement with the City was not signed by the
18    City’s Board of Public Works President until January 31, 2017.
19          Under well-established precedent, this dispute over the meaning of
20    the parties’ agreement is a matter for arbitration. NASA’s challenge is to
21    the validity of the parties’ entire agreement, not specifically to its
22    arbitration clause. Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S.
23    440, 446 (2006).
24          Even if NASA were correct that interpreting the LPA’s condition were
25    a matter for the Court—and even if the Court agreed that NASA could
26    avoid its bargain with the Union based on the LPA’s language—NASA did
27    not promptly repudiate the LPA when the Union invoked it in February
28    2017. Instead, NASA benefited from the LPA’s restrictions against the

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 1    Union striking or taking other economic action against it and from the
 2    exclusive franchise in obtained based on the LPA’s existence and validity.
 3    Under these circumstances, NASA has waived any claim that the LPA
 4    became void based the agreement’s terms.
 5                                         BACKGROUND
 6                    The “Zero Waste LA” Exclusive Franchise Ordinance
 7             In April 2014, the City of Los Angeles adopted the “Zero Waste LA”
 8    Exclusive Franchise Ordinance (the “Franchise Ordinance”), Ordinance No.
 9    182986. See Request for Judicial Notice (“RJN”), Exh. 1. The Franchise
10    Ordinance replaced Los Angeles’s previous, permit-based commercial and
11    multi-family residential solid-waste collection system with an exclusive
12    franchise system.1 The Franchise Ordinance divided the City into eleven
13    franchise “zones”, each of which has a designated exclusive waste-hauler
14    for commercial and multi-family residential collection. Franchise
15    Ordinance, RJN, Exh. 1, at § 66.33.4. The Franchise Ordinance set other
16    substantive standards that are designed to increase the diversion of solid
17    waste from landfills and to increase recycling and composting, all in order
18    to meet the City’s goal of achieving “zero waste” by 2030. Id., at § 66.33
19    (“Purpose”).
20             The City expected that the move from a largely unregulated permit
21    system to an exclusive franchise system would yield significant
22    environmental benefits. But it also recognized that creating exclusive,
23    zone-based franchises increased the potential that labor disputes would
24    interfere with waste collection. It therefore required that exclusive
25    franchise haulers be parties to agreements with labor unions that barred
26
      1   See, generally, City of Los Angeles, Bureau of Sanitation, “Final Report: Exclusive
27    Commercial and Multifamily Solid Waste Franchise Hauling System Implementation
28    Plan” (April 2013), at 1.1. Available at: https://www.lacitysan.org/cs/groups/public/
      documents/document/mhfh/mdax/~edisp/qa001033.pdf (last visited July 23, 2018).
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 1     strikes, picking and other economic actions against city waste-collection
 2     services. As the City put it:
 3           While the move to an exclusive franchise system will generate many
 4           benefits for the City and its residents, it will also increase the risk
             that a labor dispute will interfere with collection services. To protect
 5           the City’s interest in efficient and uninterrupted collection services,
 6           the City will require franchisees to produce evidence that they are
 7           parties to written, enforceable agreements that prohibit labor
             organizations and their members from engaging in picketing, work
 8           stoppages, boycotts or other economic interference with collection
 9           services.
10     Id., at § 66.33.
11           This requirement that franchisees be parties to “labor peace
12     agreements” is contained in Franchise Ordinance § 66.33.6(c). That
13     provision makes clear that being party to a labor peace agreement is a
14     prerequisite to being granted a franchise and is an ongoing requirement of
15     being a franchisee:
16           As a condition for the grant of a franchise agreement, a condition
17           precedent to any franchisee or subcontractor performing collection
             services, and as an ongoing, material condition of the franchise
18           agreement, each franchisee shall provide satisfactory evidence that it,
19           and any subcontractor who will provide collection services, are a party
20           to labor peace agreement(s) with any labor organization that
             represents any group of the franchisee’s or subcontractor's employees
21           who are or will be involved in providing collection services, and with
22           any labor organization that seeks to represent any group of a
23           franchisee’s or subcontractor’s employees who are or will be involved
             in providing collection services[.]
24
25     Id., at § 66.33.6(c). The Franchise Ordinance defines a “labor peace
26     agreement” as “an enforceable agreement between a franchisee . . . and a
27     labor organization . . . that represents or seeks to represent the franchisee’s
28     . . . employees providing collection services and that contains provisions

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 1     under which the labor organization for itself and its members agrees to
 2     refrain from engaging in any picketing, work stoppages, or any other
 3     economic interference with the franchisee’s performance of collection
 4     services.” Id., at § 66.33.1(6).
 5            The RFP and NASA’s Negotiation of the Labor Peace Agreement
 6            Consistent with the terms of the Franchise Ordinance, the City’s
 7     Bureau of Sanitation issued a Request for Proposals on June 11, 2014.
 8     Bureau of Sanitation, Request for Proposals: Citywide Exclusive Franchise
 9     System for Municipal Solid-Waste Collection and Handling (“RFP”), RJN,
10     Exh. 2. Section 2.4.5.1 of the RFP required that proposers be party to a
11     labor peace agreement:
12           In accordance with Section 66.33.6(c) of the Los Angeles Municipal
             Code, the CONTRACTOR shall provide satisfactory evidence that it,
13
             and any SUBCONTRACTOR who will provide collection services, are
14           a party to labor peace agreement[.]
15     Id., at § 2.4.5.1 (emphasis added). Section 3.10.15.6 of the RFP required
16     applicants to submit “[a]n affidavit verifying compliance with Article
17     2.4.5.1 of this RFP and Section 66.33.6(c) of the Los Angeles Municipal
18     Code.” Id., at § 3.10.15.6 (p. 68). The RFP included a certification form on
19     which the proposer would attest that it was a party to a labor peace
20     agreement (“Form 15 - Evidence of Signed Labor Peace Agreement”). See
21     id., at p. viii.
22            In September 2014, NASA approached Teamsters Local 396 about
23     negotiating a labor peace agreement. The parties’ representatives agreed
24     on a labor peace agreement on October 24, 2014, and Union and NASA
25     representatives signed the agreement on October 26 and October 27, 2014,
26     respectively. More Decl., ¶ 2; Pet. to Compel, Doc. No. 1, Exh. A.
27            The labor peace agreement (“LPA”) covers certain employees at
28     NASA’s facility at 1100 S. Maple Avenue in Montebello, California. Doc.

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 1     No. 1, Exh. A, at ¶ 1. Under the LPA, the Union agrees that “[d]uring the
 2     term of this Agreement, the Union will not engage in striking, picketing or
 3     other economic activity at the facility.” Id., Exh. A, ¶ 11. The LPA contains
 4     other substantive provisions, including NASA’s agreement to remain
 5     neutral toward its employees’ decision on whether or not to unionize,
 6     certain rights for the Union to access NASA’s facility and communicate
 7     with its employees, a procedure for recognizing the Union as the majority
 8     representative of the covered employees, and provision for interest
 9     arbitration if the parties are unable to reach agreement on a first collective
10     bargaining agreement. Id., Exh. A, ¶¶ 4, 7-10.
11          The LPA also contains a broad arbitration provision, which states:
12     “The parties agree that any disputes over the interpretation or application
13     of this Agreement shall be submitted to expedited and binding arbitration.”
14     Id., Exh. A, ¶ 14.
15          The parties could not mutually agree on named arbitrators to include
16     in the LPA prior to its execution, so the LPA instead contains a procedure
17     for selecting arbitrators “if the parties are not otherwise able to agree upon
18     a permanent arbitrator.” Id., Exh. A, ¶ 14. The parties agreed in
19     Paragraph 14 that if they were unable to agree on permanent arbitrators
20     within 30 days after the LPA’s execution, they would obtain a list of
21     arbitrators from the Federal Mediation and Conciliation Service and
22     alternatively strike names. Ibid. The parties also agreed that “[a]ny party
23     who unsuccessfully resists arbitration or an arbitration award under this
24     Agreement shall be liable for the other party’s legal fees and expenses for
25     enforcement.” Ibid.
26          NASA relied on the executed LPA in responding to the exclusive-
27     franchise RFP and, ultimately, in obtaining a lucrative exclusive waste-
28     hauling franchise from the City. NASA submitted a signed “Form 15”

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 1     along with its RFP response. This signed verification (which the Union
 2     countersigned) stated that “[t]he Company is party to an agreement with
 3     Teamsters Local 396 that meets the definition of a Labor Peace
 4     Agreement.” More Decl., ¶ 4, Exh. 1. The Union is unaware of any
 5     subsequent representation by NASA to the City that it was, in fact, not a
 6     party to an LPA that would qualify it for consideration as a franchisee or
 7     that the LPA is no longer in effect.
 8             After the execution of the LPA, NASA’s and the Union’s attorneys
 9     conferred, pursuant to Paragraph 14, over the identity of the arbitrator to
10     hear disputes under the LPA. More Decl., ¶ 5. Because those negotiations
11     took more than the 30 days prescribed in Paragraph 14, the Union sought,
12     and NASA granted, an extension on the deadline to choose arbitrators. Id.,
13     ¶ 5, Exh. 2. The parties ultimately reached agreement on Arbitrator
14     Michael Rappaport as the permanent arbitrator under the LPA. The
15     parties memorialized this agreement in an “Addendum to Memorandum of
16     Agreement.” More Decl., ¶ 6, Exh. 3. The Addendum recited that the
17     parties had entered into the LPA on October 24, 2014 and that Paragraph
18     14 of that Agreement “provides for expedited and binding arbitration of
19     disputes arising over the interpretation or application of the Agreement.”
20     Ibid.
21                   The LPA’s Relation to NASA’s Exclusive Franchise
22             The LPA contains several provisions addressing the relationship
23     between the LPA and the City’s award of an exclusive franchise to NASA
24     under the Franchise Ordinance. These provisions will be analyzed in more
25     detail in the “Argument” Section below, but will be summarized here.
26             First, Paragraph 1 of the LPA states that “[t]he terms of this
27     Agreement shall only become operative if all of the conditions set forth in
28

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 1     paragraph 15 are satisfied.” Paragraph 1 thus recites Paragraph 15 as
 2     containing the relevant provisions on the “operation” of the Agreement.
 3          Paragraph 15 contains three provisions on the relationship between
 4     the LPA and the award of an exclusive franchise. First, it states: “All of the
 5     paragraphs of this Agreement are expressly conditioned on the City of Los
 6     Angeles entering into an exclusive franchise agreement or franchise
 7     agreements with the Employer for the collection of solid waste pursuant to
 8     the City of Los Angeles Municipal Code, Article 6, Chapter VI, §§ 66.33.1 et
 9     seq.” Doc. 1, Exh. A, at ¶ 15. As will be demonstrated below, this condition
10     is met. It is not disputed that NASA has entered into an exclusive
11     franchise agreement with the City.
12          Second, Paragraph 15 states that “[i]f the City enters into an
13     exclusive franchise agreement for the collection of solid waste with the
14     Employer, then the terms of this Agreement shall remain in effect for three
15     years following the effective date of the exclusive franchise agreement
16     between the City and the Employer.” Doc. 1, Exh. A, at ¶ 15. Again, there
17     is no dispute that NASA has entered into an exclusive franchise with the
18     City, so the condition triggering a three-year term to the LPA is also met.
19          The parties dispute the meaning of Paragraph 15’s third sentence. It
20     states that “[i]f the City fails to enter into an exclusive franchise agreement
21     for the collection of solid waste with the Employer by December 31, 2016,
22     then this Agreement shall become null and void.” Doc. 1, Exh. A, at ¶ 15
23     (emphasis added).
24          As described in more detail below, the Union’s position is that this
25     condition was met—and the LPA did not “become null and void” on
26     December 31, 2016—because the City “entered into an exclusive franchise
27     agreement” with NASA prior to December 31, 2016. The fact that a city
28     official did not complete the ministerial act of physically signing the

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 1     exclusive franchise agreement until January 31, 2017 does not destroy the
 2     benefit of the parties’ bargain. NASA’s position, by contrast, is that the
 3     parties’ LPA—which was an essential condition on which NASA received
 4     the exclusive franchise in the first place—was nullified because the City’s
 5     Commissioner of Public Works did not sign the exclusive franchise
 6     agreement until January 31, 2016. This brief will demonstrate that the
 7     question of who is right is a matter of contractual interpretation for an
 8     arbitrator to decide.
 9                The City’s Award of an Exclusive Franchise to NASA
10          The City went through a multi-step process in awarding exclusive
11     franchises under the Franchise Ordinance. The City’s Bureau of Sanitation
12     and Bureau of Contract Administration created evaluation teams to review
13     and rank the fifteen waste-hauling companies that submitted proposals
14     responsive to the RFP. See Department of Public Works, Authority to
15     Award Contracts for the Zero Waste LA Exclusive Franchise System for
16     Commercial and Multifamily Solid Waste Collection and Handling –
17     Bureau of Sanitation (LASAN)” (September 26, 2016), RJN, Exh. 3, at 11-
18     15. Based on these evaluations, the City selected a smaller group of
19     proposers, including NASA, with which to negotiate franchise agreements.
20     Id., Exh. 3, at 16. Negotiations over the contents of the exclusive franchise
21     agreements continued until July 2016. Id., Exh. 3, at 17.
22          Following the negotiation of an exclusive franchise agreement, the
23     Bureau of Sanitation recommended to the City’s Board of Public Works
24     that NASA be awarded the exclusive franchise for the “Downtown”
25     franchise zone, a zone comprising some 1,700 commercial and multi-family
26     residential accounts. Id., Exh. 3, at 19. The Bureau of Sanitation
27     forwarded its recommendation to the Board of Public Works, which
28     unanimously approved the recommendation that NASA be awarded the

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 1     Downtown zone, approved the franchise agreement between NASA and the
 2     City, and forwarded the report and the franchise agreement to the Mayor
 3     and the City Council. See Journal of the Board of Public Works, September
 4     26, 2016, RJN, Exh. 4. The Board of Public Works described the
 5     ministerial act that would follow once NASA’s franchise agreement was
 6     approved by the Mayor and the City Council: “Upon the Mayor’s and the
 7     Council’s authorization, the President or two members of the Board will
 8     execute the contract[.]” Ibid. (emphasis added).
 9          The Mayor approved NASA’s exclusive franchise agreement (and the
10     other franchisees’ agreements) on November 3, 2016 and forwarded the
11     matter to the City Council. See Mayor of the City of Los Angeles,
12     Transmittal: Seven Franchise Agreements for Commercial and Multi-
13     family Solid Waste Collection and Handling, RJN, Exh. 5.
14          The City Council referred the matter to its Energy and Environment
15     Committee, which recommended that the Council approve the franchise
16     agreements and authorize the Board of Public Works to “execute a personal
17     services contract for the City’s Exclusive Franchise System for commercial
18     and multifamily solid waste collection and handling with” NASA. City of
19     Los Angeles Council, Energy and Environment Committee Report, File No.
20     10-1797-S17; 10-1797-S16, RJN Exh. 6. The City Council approved the
21     Committee Report—and with it, the franchise agreement between the City
22     and NASA—on December 9, 2016. See Official Action of the Los Angeles
23     City Council, File No. 10-1797-S17, RJN, Exh. 7. The City Council’s action
24     approving NASA’s franchise agreement and directing the Board of Public
25     Works to execute the contract became final on December 13, 2016. Ibid.
26          The President of the Board of Public Works executed NASA’s
27     exclusive franchise agreement on January 31, 2017. See Personal Services
28     Contract Between the City of Los Angeles and NASA Services, Inc.

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 1     (“Franchise Agreement”), Contract No. C-128876, RJN Exh. 8, at p. 142.
 2     NASA’s President, Arsen Sarkisian, had executed the franchise agreement
 3     on September 5, 2016, and the City Attorney’s Office had approved it as to
 4     form on September 15, 2016. Franchise Agreement, RJN Exh. 8, at p. 142.
 5          Section 3.15 of NASA’s exclusive franchise contract requires that
 6     NASA “provide, and maintain for the term of the Agreement, satisfactory
 7     evidence that it complies with [L.A. Municipal Code] Section 66.33.6(c)”—
 8     the requirement that NASA be a party to a labor peace agreement.
 9     Franchise Agreement, RJN Exh. 8, at p. 26. The existence of a valid labor
10     peace agreement with the Union was therefore a condition on which the
11     City entered into the exclusive franchise agreement with NASA.
12           The Union’s Meetings with NASA and Demand for Arbitration
13          On February 14, 2017, the Union sent NASA a notice of its intent to
14     organize, as provided for in Paragraph 7 of the LPA. Smith Decl., ¶ 2, Exh.
15     1. The Union did not hear back from NASA, and so it sent a second notice
16     on April 10, 2017. Id., ¶ 3, Exh. 2. After this second notice, the Union
17     began to communicate with a consultant of NASA’s named Mario Beltran.
18     Id., ¶ 4. During the conversations that Union representatives had with Mr.
19     Beltran, he did not assert that the parties’ LPA was void or not in effect.
20          Instead, Mr. Beltran brokered a meeting between the Union’s
21     representatives and NASA’s officials. This meeting took place on July 24,
22     2017 at a restaurant called Vespaio, in downtown Los Angeles. Id., ¶ 5.
23     Present at this meeting were Union Secretary-Treasurer Ron Herrera,
24     Union Director of Organizing Jim Smith, Union Vice President Javier
25     Bonales, Mr. Beltran, NASA’s President Arsen Sarkisian, and NASA
26     official Nick Sarkisian. The Union expressed its displeasure that NASA
27     had not complied with its obligations under the LPA, such as providing the
28     Union with a list of its employees and agreeing to allow union

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 1     representatives to access its facilities. Neither Mr. Sarkisian nor Mr.
 2     Beltran asserted at this meeting that the parties’ LPA was void or
 3     inoperative. Instead, they told the Union that it had been difficult to
 4     comply with the LPA because NASA was still transitioning into the city
 5     franchise. Mr. Sarkisian asked that NASA be given time to transition
 6     before the Union began organizing under the LPA. The Union’s Secretary-
 7     Treasurer agreed, and asked Mr. Smith and Mr. Beltran to follow up with a
 8     plan on complying with the LPA. Ibid.
 9          Mr. Beltran, Union Organizing Director Jim Smith, and Union
10     Secretary-Treasurer Ron Herrera held another meeting on August 14, 2017
11     at the Union’s offices in Covina, California. Id., ¶ 6. At this meeting, Mr.
12     Beltran and the union officials continued their discussion of a timeline for
13     NASA’s compliance with the LPA. At no point during this meeting did Mr.
14     Beltran state that NASA believed the LPA to be inoperative or void. Mr.
15     Beltran told the Union that NASA would provide the information required
16     of it in the LPA in the near future, and asked Mr. Smith to reach out to him
17     again. Mr. Smith did so over the ensuing month and a half. Id., ¶ 7, Exh.
18     3. Again, Mr. Beltran did not respond by informing the Union that the
19     LPA was not in effect. Instead, he told Mr. Smith that he was meeting
20     with NASA’s owners, which the Union understood to mean that NASA
21     would soon comply with its obligations.
22          Throughout 2017, the Union forewent its federally protected rights to
23     picket and take other economic action against NASA. It did not picket or
24     boycott NASA—something that it would normally do against a recalcitrant
25     employer—because the LPA forbids it from doing so. If NASA had
26     responded to the Union’s notices of its intent to organize employees in
27     February 2017 by stating forthrightly its position that it believed the LPA
28     to be void, then the Union might have elected to take economic action

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 1     against NASA at a time when it was particularly vulnerable, during its
 2     transition to the new franchise. Smith Decl., ¶ 8. Instead, NASA benefited
 3     from a year (and more) of labor peace with the Union based on a contract
 4     that it now claims to have always been null and void.
 5          On November 28, 2017—after months of delay from NASA—the
 6     Union informed Arbitrator Rappaport that the Union and NASA had a
 7     dispute under the LPA. More Decl., ¶ 7, Exh. 4. On December 8, 2017,
 8     NASA’s counsel wrote to Arbitrator Rappaport, declining to arbitrate and
 9     stating that “NASA and Local 396 are not parties to any agreement.” Id., ¶
10     8, Exh. 5. On February 2, 2018, the Union wrote to NASA’s counsel, citing
11     Buckeye Check Cashing, 546 U.S. 440, 446 and asking NASA to reconsider
12     its refusal to arbitrate the dispute. Id., ¶ 9, Exh. 6. NASA again declined
13     to arbitrate the parties’ dispute, and this action followed.
14                                     ARGUMENT
15     I.   NASA Bears the Heavy Burden of Demonstrating That the Parties’
16          Dispute is Not Arbitrable.
17          Labor peace agreements like the one here are governed by Labor-
18     Management Relations Act (“LMRA”), Section 301, 29 U.S.C. § 185. See,
19     e.g., Service Employees Int’l Union v. St. Vincent Medical Ctr., 344 F.3d
20     977, 979 (9th Cir. 2003); Hotel Employees & Restaurant Employees Local 2
21     v. Marriott Corp., 961 F.2d 1464, 1466 (9th Cir. 1992); United Steel, Paper,
22     etc. v. TriMas Corp., 531 F.3d 531, 533 (7th Cir. 2008); see also Doc. No. 10,
23     ¶ 1(e) (recognizing jurisdiction under § 301). Relying on the federal
24     common-law principles developed under § 301, federal courts have ordered
25     arbitration of disputes arising out of these agreements. TriMas Corp., 531
26     F.3d at 533; St. Vincent Medical Center, 344 F.3d at 985-86; South Bay
27     Boston Mgmt., Inc. v. Unite Here Local 26, 587 F.3d 35, 38 (2009).
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 1          Courts “rigorously enforce agreements to arbitrate.” Moses Cone
 2     Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983). “In labor
 3     contracts with arbitration clauses, the presumption of arbitrability is very
 4     strong.” Dennis L. Christensen General Building Contractor, Inc., v.
 5     General Building Contractor, Inc., 952 F.2d 1073, 1076 (9th Cir. 1991).
 6     “[W]here the contract contains an arbitration clause, there is a
 7     presumption of arbitrability in the sense that ‘[a]n order to arbitrate the
 8     particular grievance should not be denied unless it may be said with
 9     positive assurance that the arbitration clause is not susceptible of an
10     interpretation that covers the asserted dispute. Doubts should be resolved
11     in favor of coverage.’” Id. at 1076-1077 (quoting AT&T Technologies v.
12     Communications Workers, 475 U.S. 643, 650 (1986)); United Steelworkers
13     v. Warrior & Gulf Navigation Co., 363 U.S. 574, 582-83 (1960). “The party
14     challenging arbitrability bears the burden of showing a [labor-management
15     agreement] excludes a particular dispute from arbitration.” United
16     Brotherhood of Carpenters & Joiners of America, Local No. 1780 v. Desert
17     Palace, Inc., 94 F.3d 1308, 1309 (9th Cir. 1996).
18          Courts have applied Federal Arbitration Act (“FAA”) procedures to §
19     301 claims for breach of an arbitration provision to the extent they are
20     consistent with the LMRA. See Matthews v. Nat’l Football League Mgmt.
21     Council, 688 F.3d 1107, 1115 & n. 7 (9th Cir. 2012) (applying the FAA in a
22     case brought pursuant to § 301); Smart v. Int'l Broth. Of Elec. Workers,
23     Local 702, 315 F.3d 721, 724 (7th Cir. 2002) (“The Federal Arbitration Act
24     has no particular reference to [collective bargaining] contracts and so if
25     there were a conflict between the two statutes we would resolve it in favor
26     of section 301. Where there is no conflict, however, and the FAA provides a
27     procedure or remedy not found in section 301 but does not step on section
28     301’s toes, then . . . we apply the Federal Arbitration Act.” (citation

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 1     omitted); Oil Chem. & Atomic Workers Int’l Union v. Union Oil Co. of
 2     California, 457 F.Supp. 179, 180 (C.D. Cal. 1978) (applying § 4 of the FAA
 3     to petition to compel arbitration of action arising under § 301)
 4           Under the FAA, a party “aggrieved by the alleged . . . refusal of
 5     another to arbitrate” may file a petition in federal district court for an order
 6     compelling arbitration in the manner provided for in the agreement. Id. §
 7     4. The FAA supersedes the normal operation of the Federal Rules of Civil
 8     Procedure, Fed. R. Civ. P. 81(a)(6)(B). An application under the FAA is
 9     made and heard in the manner provided for the making and hearing of
10     motions. 9 U.S.C. § 10; see Bridgeport Mgmt., Inc. v. Lake Mathews
11     Mineral Properties, Ltd., No. 14-CV-00070-JST, 2014 WL 953831, at *3
12     (N.D. Cal. Mar. 6, 2014) (“The FAA provides for petitions to be treated as
13     motions, not complaints.”). The summary procedure under the FAA is
14     consistent with the strong federal policy in favor labor arbitration.
15     II.   Whether the Agreement “Became Null and Void” on January 1, 2017
16           is for the Arbitrator to Decide.

17           A. Under Buckeye Cashing, only challenges to an arbitration clause,
                not challenges to the contract itself, are for the courts to decide.
18
19           In Buckeye Check Cashing, Inc. v. Cardegna, supra, 546 U.S. 440, the
20     Supreme Court held that under federal law, arbitration clauses are
21     severable from the remainder of the contract and that only challenges to
22     the validity of an arbitration clause itself are matters for the courts:
23           First, as a matter of substantive federal arbitration law, an
24           arbitration provision is severable from the remainder of the contract.
             Second, unless the challenge is to the arbitration clause itself, the
25           issue of the contract’s validity is considered by the arbitrator in the
26           first instance.
27     440 U.S. at 445-46 (citing Prima Paint Corp. v. Flood & Conklin Mfg.
28     Co., 388 U.S. 395 (1967)). The question of whether the parties’ agreement

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 1     was void due to usurious interest rates was for the arbitrator, because the
 2     challenge was to the validity of the entire contract. The Court recognized
 3     that enforcing this rule “permits a court to enforce an arbitration
 4     agreement in a contract that the arbitrator later finds to be void. But it is
 5     equally true that respondents’ approach permits a court to deny effect to an
 6     arbitration provision in a contract that the court later finds to be perfectly
 7     enforceable.” Buckeye Check Cashing, 546 U.S. at 448–49. The Court
 8     resolved this dilemma in favor of arbitration. Id. at 449.
 9           The Supreme Court reiterated the rule in Rent-A-Ctr., W., Inc. v.
10     Jackson, 561 U.S. 63, 70 (2010):
11           There are two types of validity challenges under § 2: “One type
12           challenges specifically the validity of the agreement to arbitrate,” and
             “[t]he other challenges the contract as a whole, either on a ground
13           that directly affects the entire agreement (e.g., the agreement was
14           fraudulently induced), or on the ground that the illegality of one of
15           the contract’s provisions renders the whole contract invalid.”
             Buckeye, 546 U.S. at 444. In a line of cases neither party has asked
16           us to overrule, we held that only the first type of challenge is relevant
17           to a court’s determination whether the arbitration agreement at issue
18           is enforceable.

19     See also Tompkins v. 23andMe, Inc., 840 F.3d 1016, 1032 (9th Cir. 2016)
20     (“[I]f the plaintiff does not specifically and directly challenge the ‘precise
21     agreement to arbitrate at issue,’ a court must treat the arbitration
22     agreement as valid under [FAA] § 2 and enforce it, thereby letting the
23     arbitrator decide questions as to the validity of other provisions in the first
24     instance[.]”); Nicaragua v. Standard Fruit Company, 937 F.2d 469, 477
25     (9th Cir. 1991) (the question is not “whether the contract [containing an
26     arbitration clause] was valid or enforceable—just that it existed” and
27     “where the parties admit to signing a document that contains an
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 1     arbitration clause . . . all questions regarding breach of the agreement must
 2     be referred to arbitration.”).
 3           Here, NASA challenges the validity of the entire agreement by citing
 4     the Paragraph 15’s language and claiming that the City did not “enter into
 5     an exclusive franchise agreement” with the City by December 31, 2016.
 6     NASA does not challenge the arbitration clause contained in Paragraph 14
 7     specifically. NASA’s view is that Paragraph 15’s language was not met
 8     because the Los Angeles Board of Public Works President had not
 9     physically signed the Franchise Agreement by that date. Doc. No. 10, at ¶¶
10     1(c), 1(d).
11           By contrast, the Union asserts that the City had “entered into an
12     exclusive franchise agreement” with NASA before December 31, 2016
13     because it had taken all of the discretionary, legislative steps necessary to
14     enter into the Franchise Agreement.
15           Under California law, the Board of Public Works President’s act of
16     physically signing the document was ministerial and mandatory because
17     the legislative steps of awarding the franchise to NASA were complete.
18     Transdyn/Cresci v. City & Cty. of San Francisco, 72 Cal.App.4th 746, 748
19     (1999). In Transdyn/Cresci, the California court of appeal held that the
20     San Francisco Public Utilities Commission’s general manager’s refusal to
21     sign a public contract after the PUC “had passed an original resolution
22     awarding the contract to appellant pursuant to competitive bidding laws
23     exceeded the scope of the Department Head’s legal authority.” Ibid. The
24     fact that San Francisco’s City Charter required the Department Head’s
25     “signature” on public contracts did not give the general manager discretion
26     to refuse to sign after the discretionary award of the public contract had
27     taken place. Id. at 757. Transdyn/Cresci relied on an earlier California
28     Supreme Court decision holding that when a city’s mayor, “as an officer of

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 1     the city, was authorized and directed by the duly adopted resolution of the
 2     council to sign the same, it became his duty to do so as a duty resulting
 3     from his office. The mayor’s duty to sign the contract was ministerial only,
 4     and involved the exercise of no discretionary power.” Williams v. City of
 5     Stockton, 195 Cal. 743, 747 (1925).
 6          Here, the Union maintains that it should not be denied benefit of its
 7     bargain—and the parties’ clear intent to have the LPA apply if NASA
 8     received a franchise—based on the fact that the Board of Public Works
 9     President did not complete the ministerial act of signing the Franchise
10     Agreement until January 31, 2016. See Navarro v. F.D.I.C., 371 F.3d 979,
11     981 (7th Cir. 2004) (“Conditions precedent are generally disfavored; in
12     resolving doubts about whether a contract contains a condition precedent,
13     interpretations that reduce the risk of forfeiture are favored.”) (citing
14     Restatement (Second ) of Contracts § 227(1) (1981)). The discretionary
15     approvals awarding the Franchise Agreement to NASA had all been
16     completed by December 13, 2016. The Board President—who had already
17     voted with all of his fellow commissioners to enter into the Franchise
18     Agreement with NASA—had a ministerial duty to sign the Franchise
19     Agreement, which he did. The City had “entered into the exclusive
20     franchise agreement” with NASA within the meaning of Paragraph 15 by
21     December 13, 2016.
22          Because NASA’s challenge is not specifically to the parties’
23     arbitration clause, this question of contractual interpretation is for the
24     arbitrator, not for the courts. Buckeye Check Cashing, 546 U.S. at 449
25     (“[A] challenge to the validity of the contract as a whole, and not
26     specifically to the arbitration clause, must go to the arbitrator.”). Just as in
27     Buckeye Check Cashing, it is possible (though, in the Union’s view,
28     unlikely) that the arbitrator could interpret the LPA’s language and

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 1     conclude that the LPA became void under the terms set forth in Paragraph
 2     15. But the Supreme Court held that the risk that an arbitrator will
 3     determine that a contract containing an arbitration clause is void is
 4     preferable to a court ignoring the parties’ arbitration clause and resolving
 5     the parties’ contractual dispute in the first instance. Buckeye Check
 6     Cashing, 546 U.S. at 448–49.
 7          B. Disputes over the effectiveness of conditions precedent are
 8             arbitrable under Buckeye Cashing.

 9          NASA claims that Paragraph 15 contains a “condition precedent”
10     whose operation must be adjudicated by the Court. Doc. No. 10, at ¶ 1(b).
11     The language in Paragraph 15 is not that of a condition precedent but of a
12     condition subsequent. Paragraph 15 states that if the City does not “enter
13     into an exclusive franchise agreement” by December 31, 2016, then “this
14     Agreement shall become null and void.” Doc. No. 1, Exh. A, at ¶ 15.
15     Something can only “become” null and void if it has been something else
16     previously.
17          The parties acted as if the LPA was in effect prior to December 31,
18     2016. NASA and the Union selected an arbitrator pursuant to Paragraph
19     14, and NASA granted the Union a 30-day extension on the contractual
20     timeframe for selecting an arbitrator under that Paragraph. In obtaining a
21     lucrative franchise, NASA represented to the City, without qualification,
22     that it was a “party to an agreement with Teamsters Local Union No. 396
23     that meets the definition of a Labor Peace Agreement.” More Decl., Exh. 1.
24          But even if NASA were correct that Paragraph 15 contains a
25     “condition precedent,” the job of interpreting this provision to determine
26     whether it is met belongs to the arbitrator. Federal courts have regularly
27     held that conditions precedent are arbitrable under the Prima Paint/
28     Buckeye Check Cashing rule. See, e.g., U.S. Titan, Inc. v. Guangzhou Zhen

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 1     Hua Shipping Co., 182 F.R.D. 97, 102 (S.D.N.Y. 1998), aff’d, 241 F.3d 135
 2     (2d Cir. 2001) (“[I]t has been repeatedly held that even a dispute regarding
 3     the satisfaction of a condition precedent to a contract will be referred to
 4     arbitration if it may reasonably be said to come within the scope of an
 5     arbitration clause.”); Capitol Vial, Inc. v. Weber Scientific, 966 F.Supp.
 6     1108, 1111 (M.D.Ala. 1997) (a “dispute over a condition precedent to a
 7     contract containing an arbitration clause that is broadly enough worded to
 8     encompass such a dispute should be arbitrated”).
 9          One federal district court applied this line of cases to the claim that a
10     labor peace agreement never came into effect because of the failure of a
11     condition precedent. In Unite Here Local 355 v. Calder Race Course, Inc.,
12     No. 10-22355-CIV, 2010 WL 11553588, at *2 (S.D. Fla. Dec. 7, 2010), the
13     union and a race course developer entered into a labor peace agreement
14     covering future employees. In opposing the union’s motion to compel
15     arbitration, the developer argued that the agreement was void because a
16     condition precedent—the passage of a 2004 initiative permitting casino-
17     style gaming—did not occur. Id. at *1. The court rejected this argument,
18     holding that under Buckeye Check Cashing, because the developer’s
19     challenge “pertains to the validity of the MOA as a whole and not the
20     arbitration clause itself, the agreement to arbitrate is enforceable, and the
21     question of the contract's validity should go to the arbitrator.” Id. at *2.
22          Even if NASA’s claim here that the LPA “became null and void” on
23     December 31, 2016 could be characterized as a condition precedent, it is a
24     pure matter of contract interpretation that must be decided by the
25     arbitrator.
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 1          C. The parties do not have a dispute about contract formation within
 2             the meaning of Granite Rock.

 3          Finally, NASA asserts that the parties’ dispute is one of “contract
 4     formation” that the Court must resolve under Granite Rock Co. v.
 5     International Brotherhood of Teamsters, 561 U.S. 287 (2010). Doc. No. 10,
 6     at ¶ 1(a). But this misreads the scope of Granite Rock, which dealt with
 7     the technical failure of contract formation, such as “whether the alleged
 8     obligor ever signed the contract, whether the signor lacked authority to
 9     commit the alleged principal, and whether the signor lacked the mental
10     capacity to assent[.]” Buckeye Check Cashing, 546 U.S. at 444 n.1.
11     Granite Rock did not purport to overrule Prima Paint and Buckeye Check
12     Cashing, and did not rule that interpreting a purported condition precedent
13     in an admittedly executed contract is reserved to the courts.
14          Granite Rock involved a different form of contract formation
15     dispute—one similar to the question of whether a contract was signed, but
16     specific to the labor context. In Granite Rock, the dispute was over when a
17     collective-bargaining agreement (“CBA”) had been ratified by the union’s
18     membership. Such ratification was necessary in order for the CBA to be
19     formed, and the date of the ratification was important to determine
20     whether the union had struck in violation of the CBA. Granite Rock, 561
21     U.S. at 292-93. The question of the CBA’s ratification date did not involve
22     any interpretation of the CBA; the facts relating to the ratification lay
23     entirely outside of the contract’s language. Id. at 305-06.
24          Federal courts have rejected the contention that the applicability of a
25     condition precedent is one of contract formation under Granite Rock.
26     Solymar Investments, Ltd. v. Banco Santander S.A., 672 F.3d 981, 997
27     (11th Cir. 2012) (rejecting characterization of condition precedent to
28     contract as a matter of contract formation under Granite Rock); Sheet

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 1   Metal Workers’ Int’l Ass’n v. United Transp. Union, 767 F. Supp. 2d 161,
 2   177 (D.D.C. 2011) (“UTU concedes that ‘a Merger Agreement was entered
 3   into between [SMWIA] and [UTU],’ . . . and disputes only whether the
 4   conditions precedent to the merger (and the continuing effectiveness of the
 5   Merger Agreement) have been satisfied. It is the role of the arbitrator, not
 6   the Court, to apply and interpret the terms and conditions of the Merger
 7   Agreement. UTU cannot simply label the dispute as one of contract
 8   formation and thereby avoid arbitration.”).
 9        NASA does not dispute that it entered into the LPA with the Union or
10   that the LPA contains an arbitration clause under which “any disputes
11   over the interpretation or application of this Agreement shall be submitted
12   to expedited and binding arbitration.” Doc. No. 1, Exh. A, at ¶ 15. Nor can
13   NASA dispute that it has represented to the City that the LPA is a valid
14   agreement to which it is a party. Whether that parties’ agreement “became
15   null and void” through the happening of a contractual condition is a matter
16   of contract interpretation for the arbitrator. Where the parties have
17   indisputably executed a contract with one another containing a broad
18   arbitration clause and then dispute the existence of a condition set forth in
19   the agreement, merely labeling the dispute as one of “contract formation”
20   does not allow a party to bypass arbitration. Cf. Granite Rock, 561 U.S. at
21   304 n.11 (“[I]t is not the mere labeling of a dispute for contract law
22   purposes that determines whether an issue is arbitrable.”).
23        Moreover, the CBA at issue in Granite Rock limited arbitration to
24   disputes that “arise under” the CBA, unlike the arbitration clause in the
25   LPA here, which covers “any dispute over [the Agreement's] interpretation
26   or application.” Doc. No. 1, Exh. A, at ¶ 14; see Unite Here Local 217 v.
27   Sage Hosp. Res., 642 F.3d 255, 262 n.6 (1st Cir. 2011) (distinguishing
28   Granite Rock on this basis). Because the parties committed disputes over

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 1   the LPA’s “interpretation” to arbitration—and jointly selected an arbitrator
 2   to hear those disputes—the question of whether the condition set forth in
 3   Paragraph 15 have been met is arbitrable.
 4   III.   NASA Waived Its Claim that the LPA Became Void by Accepting the
 5          Agreement’s Benefits.

 6          When a party believes that an agreement is voidable, it is required to
 7   promptly give notice and enforce its rights. If it does not do so and benefits
 8   from the contract, then the right is waived. See, e.g., Citicorp Real Estate,
 9   Inc. v. Smith, 155 F.3d 1097, 1103 (9th Cir. 1998) (“in order to escape from
10   its obligation the aggrieved party must rescind by prompt notice and offer
11   to restore the consideration received, if any.”) (quoting 1 B.E.
12   Witkin, Summary of California Law, Contracts § 403 (9th ed. 1987, Supp.
13   1997)); Cal. Civil Code § 1691; Nash v. UCSF Med. Ctr., No. 11-CV-4473
14   JSC, 2013 WL 4487503, at *3 n.1 (N.D. Cal. Aug. 19, 2013) (applying
15   California Civil Code § 1691 to voidable contract).
16          In two cases, federal courts ruling on § 301 motions to compel
17   arbitration under labor peace agreements like the one here have held that
18   the non-performing party’s failure to promptly repudiate the agreement
19   constitutes a waiver. In Hotel Employees & Rest. Employees Union, Local
20   2 v. Marriott Corp., No. C-89-2707 MHP, 1993 WL 341286, at *9 (N.D. Cal.
21   Aug. 23, 1993), San Francisco required that a hotel developer enter into a
22   labor peace agreement with a union. After the hotel was built and
23   operations commenced, the union sought to enforce the agreement but the
24   hotel resisted. The hotel argued that the agreement was the product of
25   economic coercion. The federal district court held, however, that the hotel
26   had waived any claim that the agreement was voidable by benefitting from
27   the agreement, including its bar on the union taking economic action. Ibid.
28

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 1   (“It should be beyond cavil that a party cannot reap the benefits of a
 2   bargain and then exercise its right to rescind.”).
 3        The First Circuit also held that a party to a labor peace agreement
 4   must promptly rescind the agreement when it believes it has a basis to do
 5   so. South Bay Boston Mgmt, supra, 587 F.3d at 41-42. As in the Marriott
 6   case, the First Circuit held that a party to a voidable contract “may not
 7   enjoy[] the benefits of the Agreement” and then claim not to be bound when
 8   the union seeks to compel arbitration. Id. at 42 (“Because its challenge is
 9   not timely, South Bay has thus waived any right it may have had to void
10   the Agreement.”).
11        Here, the Union informed NASA of its intent to organize under the
12   LPA on February 14, 2017. NASA did not respond by asserting that it
13   believed the LPA to have become void or inoperative. Nor did NASA do so
14   after the Union sent a second notice of intent to organize in April 2017.
15   Representatives of NASA held two meetings with the Union in July and
16   August 2017. At neither of those meetings did NASA repudiate the LPA or
17   assert that it had become null and void. It was not until the Union stated
18   that it would seek to compel arbitration under the Agreement that NASA
19   asserted that the LPA was inoperative.
20        Throughout this time, NASA benefitted from the LPA because the
21   LPA constrained the Union from exerting economic action against the
22   company. NASA obviously believed that the guarantee of labor peace
23   amounted to valuable consideration when it negotiated the LPA. It
24   acquired an enforceable right to prevent strikes, picketing and other labor
25   disruption. See American Mfg. Co., supra, 363 U.S. at 567 (arbitration is
26   the quid pro quo for a union’s promise not to picket or strike over contract
27   disputes). Such economic action would have been particularly effective
28   during NASA’s transition to the exclusive franchise. That may be the

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 1   reason why NASA did not alert the Union of its position throughout 2017:
 2   it wished to hold off any Union action against it until its new waste-
 3   collection franchise was up and running.
 4         NASA also benefitted directly from the LPA because the existence of
 5   a valid labor peace agreement was a condition for the City to enter into the
 6   Franchise Agreement with NASA. NASA represented that it was party to
 7   a valid LPA with the Union both at the time when it responded to the RFP
 8   and when it entered into the Franchise Agreement. It maintained that
 9   position throughout 2017, to its benefit.
10         By failing to promptly repudiate the LPA—and by reaping the
11   benefits of the LPA throughout 2017—NASA waived its claim that the LPA
12   is inoperative.2
13   IV.   NASA Is Required to Pay the Union’s Legal Expenses as a Matter of
14         Contract.
15         The parties agreed contractually that a party that “unsuccessfully
16   resists arbitration or an arbitration award under this Agreement shall be
17   liable for the other party’s legal fees and expenses for enforcement.” Doc.
18   No. 1, Exh. A, at ¶ 14. This contractual rule is unqualified. It does not
19   include an exception for resistance to arbitration based on a good-faith
20   belief or a substantially justified legal position.
21         Accordingly, if the Court grants the Union’s motion to compel
22   arbitration, it should require that NASA pay the legal fees and expenses
23   that the Union has expended in bringing this action.
24
25
26   2Alternatively, NASA is equitably estopped from taking this position. See Morgan v.
     Gonzales, 495 F.3d 1084, 1092 (9th Cir. 2007) (outlining traditional elements of
27   equitable estoppel). “[E]quitable estoppel is available in actions under ERISA and the
28   LMRA.” Directors of Motion Picture Indus. Pension Plan v. Nu Image Inc., No. 2:13-
     CV-03224-CAS, 2014 WL 808859, at *2 (C.D. Cal. Feb. 28, 2014).
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 1                                  CONCLUSION
 2        For the foregoing reasons, the Court should grant the Union’s motion
 3   to compel arbitration and order NASA to pay the Union’s reasonable
 4   attorneys’ fees and costs in bringing this action.
 5
 6   Dated: July 23, 2018         Respectfully Submitted,
 7
 8                                McCRACKEN, STEMERMAN &
 9                                HOLSBERRY LLP
10
11                                By:   /s/Paul L. More
12                                      Paul L. More
13                                      Attorneys for Petitioner
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 1                                 PROOF OF SERVICE
 2         STATE OF CALIFORNIA, CITY AND COUNTY OF SAN FRANCISCO
 3
           I am employed in the city and county of San Francisco, State of
 4   California. I am over the age of eighteen years and not a party to the within
 5   action; my business address is: 595 Market Street, Suite 800, San Francisco,
 6   California 94105.

 7           On July 23, 2018 I served a copy of the following document(s) described
 8   as-
 9
     INTERNATIONAL BROTHERHOOD OF TEAMSTERS, LOCAL 396’s
10   BRIEF IN SUPPORT OF MOTION TO COMPEL ARBITRATION
11
12   on the interested party(ies) to this action as follows:
13   By ECF System - Court's Notice of Electronic Filins•*
14
            L Brent Garrett
15          Atkinson Andelson Loya Ruud and Romo
16          12800 Center Court Drive South Suite 300
            Cerritos, CA 90703
17
            562-653-3200
18          Fax: 562-653-3333
19          Email: bgarrett@aalrr.com

20          Attorneys for NASA Services, Inc.
21
22        I declare under penalty of perjury under the laws of the State of
23   California that the foregoing is true and correct.
24          Executed on this 23rd day of July 2018, at San Francisco, California.
25
26
27                                                     Katherine Maddux
28

                                                1
     CERTIFICATE OF SERVICE                                    CASE NO. 2:18-cv-03681-KS
